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                                                                        UNITED STATES DISTRICT COURT
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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                          THE APPLE IPOD ITUNES ANTITRUST                  Case No.: 05-CV-0037 YGR
                                   8      LITIGATION
                                                                                           ORDER DENYING MOTION TO INTERVENE
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                                          This Order Relates to:
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                                          All Actions
Northern District of California




                                  12
 United States District Court




                                  13          Pending before the Court is a motion to intervene as plaintiffs with “newly discovered
                                  14   evidence” under Federal Rule of Civil Procedure 24(a) and (b). (Dkt. No. 1034.) In the Ninth
                                  15   Circuit, timeliness is a perquisite to intervention as of right or permissive intervention. United
                                  16   Latin Am. Citizens v. Wilson, 131 F.3d 1297, 1308 (9th Cir. 1997). The instant motion—filed more
                                  17   than a decade after the start of this case and more than a month after entry of final judgment—is, on
                                  18   its face, untimely in light of that procedural posture. The motion is therefore DENIED.
                                  19          This Order terminates Docket No. 1034.
                                  20          IT IS SO ORDERED.
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                                  22   Date: February 25, 2015                        _______________________________________
                                                                                              YVONNE GONZALEZ ROGERS
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                                                                                         UNITED STATES DISTRICT COURT JUDGE
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